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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                    CASE NO.: 1:21-cv-23522


UNITED STATES OF AMERICA,

       Plaintiff,
 vs.

ROBERT LHEZ, individually and as an
officer of Arcana Center, Corp. and
of Partners VAD International Sàrl, also
d/b/a Lynco;

MIREILLE DAYER;

JULIE POULLEAU;

ARCANA CENTER, CORP., also d/b/a
LCO, LMS, CEB (a/k/a CENTRE DU BIEN-
ETRE SÀRL), LAURA VIVIAN, LOUIS DE
KERSAN, AND HELENA FAY;

PARTNERS VAD INTERNATIONAL
SÀRL, also d/b/a VAD PARTNERS, IMC
AND DONOVAN,

      Defendants.
_____________________________________/


                    UNITED STATES OF AMERICA’S COMPLAINT FOR
                             PERMANENT INJUNCTION

         Plaintiff, the United States of America (“United States”), by and through the undersigned

  attorneys, hereby sues Defendants Robert Lhez, Mireille Dayer, Julie Poulleau, Arcana Center,

  Corp., and Partners VAD International Sàrl (collectively referred to herein as “Defendants”),

  and alleges as follows:
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                                          INTRODUCTION

         1.      The United States brings this action for a permanent injunction and other

  equitable relief pursuant to 18 U.S.C. § 1345, in order to enjoin the ongoing or imminent

  commission of criminal mail fraud in violation of 18 U.S.C. § 1341. The United States seeks to

  prevent continuing and substantial injury to the victims of fraud.

         2.      Defendants have sent hundreds of thousands of fraudulent solicitations through

  the U.S. mail to recipients throughout the United States, including within the Southern District of

  Florida. Defendants’ solicitations purport to come from individuals—including “Laura Vivian,”

  “Helena Fay,” “Louis de Kersan,” and “Donovan”—or companies offering psychic, clairvoyant,

  or astrological services or purported talismans. These solicitations are written to give the

  impression that they are a personal letter to the recipient and that the sending psychics employed

  their powers in the exclusive and specific service of the recipient. The solicitations claim that

  through the use of the psychic’s powers and/or through purported talismans the individual

  recipient will come into good fortune resulting in an imminent financial windfall though the

  lottery, inheritance, or other game of chance. The solicitations urge that time is of the essence

  and ask recipients to promptly send a response and processing fee or other payment in order to

  guarantee that the predicted wealth, good fortune, or other benefit will come to fruition.

         3.      In reality, these solicitations are not personal letters but nearly identical form

  letters mailed, at Defendants’ behest, in bulk to thousands of potential victims throughout the

  United States. The individuals from whom the letters are purportedly sent either are fictitious,

  or, if they are real individuals, have no (or a de minimums) role in the mailing scheme. The

  purported talismans, which Defendants represent are unique historical artifacts, are in fact cheap

  trinkets, purchased in bulk and sent to thousands of consumers.



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         4.      Victims who pay the requested fee never receive the promised benefit. Tens of

  thousands of victims, especially the elderly or vulnerable, have sent payments totaling millions

  of dollars to Defendants.

         5.      For the reasons stated herein, the United States requests injunctive relief pursuant

  to 18 U.S.C. § 1345 to enjoin Defendants’ ongoing scheme to defraud using the U.S. mail in

  violation of 18 U.S.C. § 1341.

                                   JURISDICTION AND VENUE

         6.      The Court has subject matter jurisdiction over this action pursuant to 18 U.S.C.

  § 1345 and 28 U.S.C. §§ 1331 and 1345.

         7.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b)(2).

                                                  PARTIES

         8.      Plaintiff is the United States of America.

         9.      Defendant Robert Lhez (“Lhez”) is a resident of France. Lhez has been engaging

  in mass mail fraud schemes like those described herein since at least 2012 and has, since at least

  2017 been the owner and president of Arcana Center, and a partner, principal officer, and

  manager of Partners VAD International Sàrl. Lhez also does business as an entity by the name

  of Lynco.

         10.     Defendant Mireille Dayer (“Dayer”) is a citizen of Switzerland. Dayer has

  worked for Lhez and Arcana Center since at least as early as 2017.

         11.     Defendant Julie Poulleau (“Poulleau”) is a citizen of France. Poulleau has

  worked for Lhez since at least as early as 2013, and has assisted him in operating this mail fraud

  scheme. Since at least 2018, Poulleau has been employed by and served as primary business

  point of contact Partners VAD.



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         12.     Defendant Arcana Center, Corp. (“Arcana Center”) which also does business as

  “LCO,” “LMS,” “CEB” (a/k/a Centre Du Bien-Être Sàrl), “Laura Vivian,” “Louis De Kersan,”

  and “Helena Fay,” is a corporation organized and existing under the laws of the state of

  Delaware since February 2017.

         13.     Defendant Partners VAD International Sàrl (“Partners VAD”) is, and has been

  since at least as early as 2013, a limited liability company based in Geneva, Switzerland.

  Partners VAD also does business as VAD Partners, “Donovan,” and an entity by the name of

  “IMC”.

                           DEFENDANTS’ FRAUDULENT SCHEME

         14.     Defendants have for years engaged in mail fraud schemes that have defrauded

  tens of thousands of victims throughout the United States.

         15.     Lhez is the leader and director of this fraudulent mass-mailing operation. Lhez

  reviews and approves the design and content of these fraudulent solicitations before they are

  mailed, and directs the activities of Dayer, Poulleau, and others. Lhez has operated this mailing

  fraud scheme since at least as early as 2012. Lhez has utilized the corporate defendants Arcana

  Center and Partners VAD to operate this fraud scheme since at least 2017.

         16.     Poulleau has worked with Lhez to operate this scheme since at least as early as

  2013. Poulleau’s role has involved corresponding with various third-parties who facilitate the

  mail fraud scheme, such as full service printers to complete printing and mailing services. Since

  at least June 2018, Poulleau has served as the primary point of contact and representative of

  Partners VAD responsible for contracting with and paying third-party U.S. based printing

  companies to design, mass produce, and mail various psychic solicitations in bulk. Poulleau




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  personally traveled to the United States in 2018 to meet with and establish business relationships

  between Partners VAD and various U.S. based printing companies.

         17.     Dayer has worked for Lhez since at least as early as 2017. Dayer has traveled to

  the United States on a number of occasions between 2017 and 2019. She personally traveled to

  the United States to open Arcana Center’s initial business accounts at various U.S. banks. At

  present, Dayer and Lhez both have signatory authority on multiple U.S.-based bank accounts

  belonging to Arcana Center.

         18.     In furtherance of the on-going mail fraud scheme, Defendants have sent

  solicitations promoting various “psychic” schemes (e.g. personalized psychic, clairvoyant, or

  astrological services or purported talismans) through the U.S. mail to potential victims

  throughout the United States, including within the Southern District of Florida. The solicitations

  use a wide range of fraudulent tactics calculated to induce victims to send money to the

  Defendants.

         19.     The solicitations are styled as personalized letters. They claim that the victims are

  the sole recipient of the letter and that the solicitations were sent to the individual based on

  specific information about them, such as financial need, a special connection between the victim

  and an astrological talisman, or a vision that a psychic had about the victim. The solicitations

  claim that the individual recipient has already won, or will soon win or receive, large amounts of

  money or other valuable prizes.

         20.     Some of solicitations also contain inconspicuous fine print that purports to set out

  terms and conditions (i.e., disclaimers). In many cases, the difficult-to-read “disclaimers” simply

  reiterate and reinforce the misrepresentations in the main part of the solicitation. In other

  solicitations, these small-font passages directly contradict the claims in the main body of the



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  solicitation. Recipients are highly unlikely to see, let alone read and understand, the

  indecipherable print in the disclaimers. And even if read, these hidden “disclaimers” do nothing

  to counteract the overall impression conveyed by the solicitations that the recipient will receive a

  prize or other benefit if the recipient pays the fee.

          21.     The response forms contained within these solicitations resemble order forms and

  instruct the recipient to send cash or a money order usually ranging from $40 to $50 in order to

  receive the promised cash, prize, or other benefit. If the recipient opts to send a money order, the

  solicitation instructs the recipient to make all money orders payable to “LCO,” “LMS” or

  “CEB,” or “IMC.”

          22.     To facilitate the return and processing of the above-referenced victim payments,

  the majority of Defendants’ direct mail solicitations contain pre-addressed return envelopes. The

  return envelopes are pre-addressed (e.g., “Laura Vivian, Co/CEB, CP 59, 1211 GENÈVE 12,

  SWITZERLAND”) and the return addresses are (i) various foreign P.O. boxes that are rented on

  behalf of Defendants or (ii) private mail boxes controlled by Defendants at mailbox service

  providers throughout Europe.

          23.     In reality, after making the payment, none of the victims ever receive the

  promised money, prize, or benefit. The advertised services and products do not bring wealth or

  good fortune to the purchasers as promised.

          24.     Arcana Center is the registered parent company of the tradenames “LCO,” “LMS”

  and “CEB.” Since at least 2017, victim payments sent in response to Defendants’ “psychic”

  solicitations and payable to “LCO,” “LMS” or “CEB” have been deposited into bank accounts

  held in the name of Arcana Center, for which Lhez and Dayer are signatories. The bulk of

  Arcana Center’s revenue consists of victim proceeds from the “psychic” schemes, taking the



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  form of victim money orders payable to “LCO,” “LMS,” and “CEB” deposited into Arcana

  Center’s U.S.-based bank accounts.

         25.     Money from Arcana Center accounts is wired to accounts opened by Partners

  VAD, which uses the funds, in part, to pay for the scheme’s expenses, such as printing and

  mailing the fraudulent solicitations.

         26.     Victims have sent Defendants millions of dollars in response to fraudulent

  solicitations. From March 2017 to June 2018, more than 34,000 victim payments sent in

  response to solicitations purportedly from psychics were deposited into Arcana Center accounts.

  These victim payments during that time period alone totaled more than $1.4 million.

                       EXAMPLES OF FRAUDULENT SOLICITATIONS

         27.     The specific fraudulent solicitations described below are examples of the different

  fraudulent solicitations sent by Defendants since at least 2017. All three of the representative

  examples follow the same formula. The notices from the purported “psychics” promise that: (1)

  large sums of money will come to the recipient as a windfall; (2) the “psychic’s” services are

  unique to the recipient; and (3) the promised or predicted results are guaranteed. The notices all

  call for a payment ranging from $40 to $50 from the recipient in exchange for the promised

  result. Further some of notice/solicitations bear purported “disclaimers” written in small,

  difficult-to- read font, which seemingly contradict the alleged promises and guarantees

  prominently featured throughout the solicitations.

                                   The “Laura Vivian” Solicitation

         28.     One solicitation sent by Defendants purports to have been sent by psychic “Laura

  Vivian” and creates the false impression that its recipient will imminently receive a check for




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  $7,800 and need only mail in a payment of $45.00 or $50.00 (depending on whether the recipient

  pays by cash or money order) to receive delivery of this financial windfall. See Exhibit A.

         29.     The notice states in bold, large print at the top “A LARGE SUM OF MONEY IS

  COMING TO YOU” and continues just below the large print, “PLEASE REFER TO THE

  ENCLOSED DOCUMENT FOR THE LATEST DIRECTIVE TO RECEIVE THE CHECK

  FOR $7,800!” The notice goes on to further explains that the consumer needs to wear a “CROSS

  OF FORTUNE” and that if the consumer complies, the consumer will multiply his/her

  winnings.

         30.     Defendants mailed nearly identical solicitations, save for the victim’s name and

  address, to thousands of potential victims. The solicitations contained a return envelope pre-

  addressed to a private mailbox in Switzerland. Recipients of this solicitation who sent a payment

  for $45.00 in cash or $50.00 via money order to CEB did not receive a payment of $7,800, or

  any other prize.


                                   The “Helena Fay” Solicitation

         31.     Another solicitation sent by Defendants purports to have been sent by psychic

  “Helena Fay” and creates the false impression that its recipient will receive a precious gem worth

  $12,000 and need only send payment of $45.00 – 50.00 in order to receive this item. See Exhibit

  B.

         32.     The return portion of the prize notice states “AUTHORIZED FOR THE

  POSTAL TRANSFER OF THE PRECIOUS RUBY OF PERFECT DESTINY, WORTH

  WINNINGS OF 12,000 DOLLARS.” The notice continues, “[I]t’s now time for John to give

  the Invaluable Ruby, given to him by Maharaja de Jaipur, to a person who has a pressing need

  for money and blatant lack of luck” and explains that “He [John] told me that his Mother was


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  American and was called [victim’s name] and that he wanted the person who inherited the

  Precious Ruby of perfect destiny, to also bear the name [victim’s name].” The next section of

  the notice states, “He also asked me to ensure that the beneficiary of his Ruby understood the

  true value of things. You are called [victim’s name], you have an urgent need for money, you

  lack luck and you understand the true value of things! You fit the profile exactly! John and I

  didn’t take long to select you to receive the Precious Ruby of perfect destiny, Worth winnings of

  12,000 Dollars.”

         33.     The final page of the notice instructs the victim to mark boxes stating that they

  agree to send payments in exchange for the “Precious Ruby of Perfect Destiny,” and to enclose

  $45.00 cash or a $50.00 money order payable to “LMS.”

                                 The “Louis de Kersan” Solicitation

         34.     The “Louis de Kersan” solicitations purport to be a personalized notice from

  psychic “Louis de Kersan.” The top of the solicitation reads: TRIPLE WINNING

  CLAIRVOYANT READING OF THE GRAND RITUAL OF BELISAMA THE VERY

  BRILLIANT. The solicitation goes on to state that “The Ritual of Belisama is completely

  adamant. You are going to win a very large sum within 17 days. You must not miss out on this

  first step towards fortune. Send me back immediately this acceptance form (otherwise, I will not

  be able to do anything for you).” The solicitation continues on the next page, “This truly

  confirms that in 17 days’ time fortune will be yours.” Further, at the bottom of the page it reads,

  “You do not have a minute to lose. Send me back immediately the consent form, printed out

  for your overleaf…and you fortune will be made!!! Every second counts. Reply

  immediately!!!” The solicitation instructs the recipient toe send $45.00 in cash or a money

  order payable to “LCO” in the amount of $50.00. See Exhibit C.



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          DEFENDANTS’ KNOWLEDGE AND CONCEALMENT OF THE FRAUD

          35.     Defendants know that their solicitations are not personal letters, but instead are

  identical form letters that Defendants mail in bulk to thousands of potential victims throughout

  the United States. Defendants know that the solicitations they send to potential victims

  throughout the world contain false and misleading statements intended to induce the recipients to

  send them payments. Defendants know that the thousands of form letters mailed to potential

  victims each year do not results in any individuals receiving the promised financial windfall,

  inheritance, or financial benefit.

          36.     Defendants have also received warnings from the U.S. Postal Inspection Service

  (“USPIS”) alerting them to the alleged fraudulent content of their psychic solicitations.

          a.      On July 18, 2019, the USPIS withheld mail destined for a private mail box in

  Switzerland and addressed to “Laura Vivian” pursuant to 39 U.S.C. § 3003, which allows the

  U.S. Postal Service to withhold mail upon evidence that such mail uses a fictitious name in

  conducting a fraud scheme. The Postal Service may then require the party claiming the mail to

  furnish proof of the claimant’s identity and right to claim the mail. In lieu of the withheld mail,

  the USPIS mailed a Notice of Withholding Mail letter to the “Laura Vivian” mailbox, stating that

  the mail was being withheld from delivery under suspicion that it was facilitating fraud.

          b.      Subsequently, on April 20, 2020, the USPIS again withheld mail destined for a

  private mail box in France. The solicitations underlying this mail were purportedly signed by

  “Laura Vivian” and offered riches in exchange for a $40.00 processing fee. In lieu of the

  withheld mail, the USPIS mailed a Notice of Withholding Mail letter on agency letterhead to the

  private mailbox, explaining that that the mail was being withheld from delivery under suspicion

  that it was facilitating fraud.



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         c.      On October 30, 2020, the USPIS seized all funds from business accounts

  belonging to Arcana Center. The funds were identified as proceeds of, and directly traceable to

  the fraudulent psychic schemes discussed above, in violation of the mail fraud, wire fraud, and

  money laundering statutes. The authorized signers on the accounts seized were Lhez and Dayer.

  USPIS mailed a notice of the seizure to the nominee, all authorized signatories, and any

  attorneys known at the time. As noted previously, a substantial portion of Arcana Center’s

  revenue consisted of victim proceeds of the psychic schemes, taking the form of victim money

  orders payable to “LCO,” “LMS,” and “CEB.”

         37.     Moreover, Defendants were aware that the U.S. government took action against

  several entities with whom they regularly contracted to conduct their direct mailing operations

  for facilitating mail and wire fraud schemes that utilized solicitations that were substantially

  similar to those mailed by Defendants.

         a.      Trends Service in Kommunikatie B.V. (“Trends”), a Dutch business entity,

  contracted with Lhez as early as 2012 to provide Lhez with postal boxes in the Netherlands to

  receive victim payments and with caging services. 1 Lhez remained a Trends client until

  approximately 2016. In June 2016, the United States government filed suit, pursuant to 18

  U.S.C. § 1345, against Trends in the Eastern District of New York, case number, 16-CV-02770,

  for its role as a caging service used to facilitate multiple international direct mail fraud schemes

  targeting victim in the Unites States. One of the exhibits attached to the Complaint against




  1
    Caging Services refers generally to processing direct mail payments and orders sent in response
  to an advertisement, solicitation. The services provided may include, but are not limited to,
  opening the return envelopes, entering or inputting data about individuals responding to said
  solicitation, processing payments, compiling product orders, correcting recipient addresses,
  processing returned mail, providing lockbox services and depositing funds and the associated
  data processing for each of these services.
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  Trends as an example of a fraudulent mailing was a psychic solicitation in the name of “Laura

  Vivian” that was mailed by Lhez. This filing resulted in a permanent injunction against Trends

  entered in September 2016. Lhez and Dayer had actual knowledge of the lawsuit against Trends,

  including the reference to “Laura Vivian.”

         b.      Lhez rented customer lists from various mailing-list brokers, to include

  Macromark Inc. (“Macromark”). Each list contained thousands of potential victim names and

  addresses. In September 2016, the United States government filed suit, pursuant to 18 U.S.C.

  § 1345, against Macromark in the Eastern District of New York, case number, 16-CV-5264, and

  obtained a temporary restraining order enjoining Macromark from, among other things, selling

  lead lists related to mailings selling astrological or clairvoyant services or representing that the

  recipient has won, will win, or will receive cash or prizes. Pursuant to the temporary restraining

  order, Macromark served a copy of the order on all of its customers, including the entity through

  which Lhez was operating at the time. On September 25, 2020, Macromark pled guilty to one

  count of mail and wire fraud conspiracy under 18 U.S.C. § 1349 in the District of Connecticut,

  case number 20-cr-00171, for its role in supplying mailing lists of potential victims to

  perpetrators of fraudulent mass-mailing schemes (to include the psychic mailing schemes

  perpetrated by the Defendants).

         c.      PacNet Services, Ltd (“PacNet”), a Canadian entity, was utilized by Lhez to

  process victim payments connected to solicitations purportedly from various psychics to include

  “Laura Vivian,” “Louis de Kersan,” and “Helena Fay.” Between July 2011 and September 2016,

  PacNet processed in excess of $2 million in victim payments on behalf of Lhez and the entities

  controlled by Lhez. In September 2016, the U.S. Department of the Treasury, Office of Foreign

  Assets Control designated PacNet as a significant transnational criminal organization. On



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  information and belief, Defendants Lhez and Dayer had actual knowledge of this action against

  PacNet, as the closure of PacNet forced them to find new bank accounts and payment processors

  to receive and process victim payments. In June 2019, four PacNet executives were indicted by

  a grand jury in the District of Nevada for facilitating mail fraud schemes.

         38.     Despite knowing their solicitations were replete with falsehoods and fabrications,

  warnings from the USPIS, and knowledge of the actions taken against entities with whom they

  conducted business, Defendants continue to mass produce, print, and mail “psychic” solicitations

  throughout the United States and elsewhere in the world.

                                        HARM TO VICTIMS

         39.     Victims, especially elderly and vulnerable victims, suffer financial losses from the

  mail fraud scheme that Defendants perpetrate. If unabated, these losses will rise and continue

  harming Defendants’ victims.

         40.     The harm to victims is ongoing and will continue without the injunctive relief

  sought by the United States.

                                              COUNT I

                                 (18 U.S.C. § 1345 – Injunctive Relief)

         41.     The United States re-alleges and incorporates by reference paragraphs 1 through

  40 of this Complaint as though fully set forth herein.

         42.     By reason of the conduct described herein, Defendants violated, are violating, and

  are about to violate 18 U.S.C. §§ 1341 and 1349 by executing a scheme or artifice to defraud, or

  for obtaining money or property by means of false or fraudulent representations with the intent to

  defraud, and, in so doing, use the U.S. mail.




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            43.   Upon a showing that Defendants are committing or about to commit mail fraud,

  the United States is entitled, under 18 U.S.C. § 1345, to a permanent injunction restraining all

  future fraudulent conduct and any other action that this Court deems just in order to prevent a

  continuing and substantial injury to the victims of fraud.

            44.   As a result of the foregoing, Defendants’ conduct should be enjoined pursuant to

  18 U.S.C. § 1345.

                                       PRAYER FOR RELIEF

      WHEREFORE, the plaintiff United States of America requests of the Court the following

  relief:

            45.   That the Court issue a permanent injunction pursuant to 18 U.S.C. § 1345,

  enjoining Defendant, their agents, officers, and employees, and all other persons and entities in

  active concert or participation with them from:

            a.    committing or conspiring to commit mail fraud, as defined by 18 U.S.C. §§ 1341

  and 1349;

            b.    directly or indirectly, assisting, facilitating, or participating in any Mass-Mail

  Marketing 2 or Prize Promotion Scheme; 3

            c.    using the United States mail, or causing others to use the United States mail, to

  distribute any advertisements, solicitations, or promotional materials: (1) related or referring to




  2
    Mass-mail marketing is any plan, program, or campaign that utilizes the United States mail to
  induce via substantially identical content, a large number of persons to (1) purchase goods or
  services or (2) participate in a lottery, contest or sweepstakes.
  3
    A prize promotion scheme is a plan, program, promotion, or campaign that utilizes the U.S.
  mail to mislead a prospective consumer or consumers to believe that they have won, or may or
  will win or receive, a sweepstakes, contest, lottery, prize, inheritance, money, property, or other
  thing of value, contingent on the victim providing, or providing a means of accessing or
  obtaining, any fee.
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  lotteries, sweepstakes or other games of chance, (2) purporting to be from a psychic or

  clairvoyant, or otherwise relating or referring to psychic, clairvoyant, or astrological services or

  items; (3) that represent, directly or indirectly, that the recipient has won, will win, or will

  receive cash, awards, prizes or an inheritance; or (4) contain materially false or misleading

  representations (for purposes of this Complaint, “Covered Materials”);

         d.      receiving, handling, opening, or forwarding any mail that responds, by sending

  payment or otherwise, to any Prize Promotion Scheme, Mass-Mail Marketing, or Covered

  Materials and has traveled through United States mail;

         e.      printing, or causing others to print, any Mass-Marketing, Prize Promotion, or

  Covered Materials that will be distributed through the United States mail;

         f.      obtaining or entering into any ownership interest, employment relationship,

  affiliation, or other contractual relationship with any business entity (incorporated or

  unincorporated) involved in Mass-Mail Marketing, Prize Promotion Scheme; and/or Covered

  materials;

         g.      renting, possessing, or having control over any post office boxes, commercial

  mail receiving agency boxes, private mail boxes, or other addresses located in the United States

  for the purposes of receiving Covered Materials, Mass-Mail Marketing, or Prize Promotion mail

  in their own names or in the names of any agents or corporate entities owned or controlled by

  Defendants.

         46.     That the Court further order that, pursuant to 18 U.S.C. § 1345, the United States

  Postal Service and United States Customs and Border Control are authorized to detain:

         a.      all of Defendants’ mail, addressed to any foreign P.O. box, private mail boxes, or

  any other address anywhere in the world registered to, rented by, or controlled by Defendants or



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  any other corporate entity owned or controlled by Defendants, which is responsive to any Mass-

  Mail Marketing, Prize Promotion, or Covered Materials;

            b.    all of Defendants incoming mail, mail matter, or packages transported in interstate

  or foreign commerce addressed to any post office boxes, private mail boxes or any other address

  anywhere in the United States of America registered to, rented by, or controlled by Defendants

  or any other corporate entity owned or controlled by Defendants, which consists of or contains

  responses to any Mass-Mail Marketing, Prize Promotion, or Covered Materials;

            c.    any Mass-Mail Marketing, Prize Promotion, or Covered Materials, that are

  deposited into the United States mail, or brought into the United States as freight and destined

  for delivery to a potential victim in the United States, by Defendants, their agents, officers, or

  employees, or any other persons or entities in active concert or participation with them.

            47.   That the Court order such other and further relief as the Court shall deem just and

  proper.




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   Dated:       October 6, 2021                Respectfully Submitted,

   JUAN ANTONIO GONZALEZ                       BRIAN BOYNTON
   ACTING UNITED STATES ATTORNEY               Acting Assistant Attorney General
                                               Civil Division

   James A. Weinkle                            ARUN G. RAO
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